 Case 2:21-cv-01842-MMB Document 7-1 Filed 05/28/21 Page 1 of 2




                    BASH v. BENEFICIAL ET AL.
            E.D. PA REMOVAL ATTORNEY TIME (WAE)

4/21/21

Review Notice of Removal and attachments re: Motion to Remand
(ECF No. 1)                                                            .4

4/21/21

Legal research re: 28 U.S.C. sections 1332, 1441, and 1447,
Third Circuit Court of Appeals case authority on consent to
remove by all defendants, lack of subject matter jurisdiction,
inability of citizen of forum state to remove case under section
1441, corporate and individual citizenship for purposes of section
1332 removal, recoverability of attorneys’ fees for improper
removal, standards applicable to same                                  3.2

4/22/21

Review arbitration certification letter issued by clerk (ECF No. 2)    .1

4/22/21

Legal research re: prompt notification of state court after removal,
no notice given to state court to date                                 .4

4/22/21

Draft Motion to Remand case to Philadelphia CCP                        2.3

4/22/21

Draft accompanying Memorandum of Law and form of Order,
file motion with Court (ECF No. 3)                                     4.0

4/23/21

Review Removing Defendants’ response letter to Judge Baylson
re: consent to remand (ECF No. 4)                                      .1
 Case 2:21-cv-01842-MMB Document 7-1 Filed 05/28/21 Page 2 of 2




4/23/21

Draft and file reply letter to ECF No. 4 re: attorneys’ fee request
not addressed in Removing Defendants’ response conceding
improper removal (ECF No. 5)                                           .4

5/21/21

Review and calendar Judge Baylson’s Order (ECF No. 6) re: remand
to Phila Court of Common Pleas                                   .1

5/28/21

Review Certification of Ari R. Karpf, Esquire re: reasonable rates     .1

5/28/21

Filing of Attorney time statement with Court per Order of
May 21, 2021                                                           .1

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11.2 x $450                                                       $5,040.00
